      Case: 1:24-cv-01857-DAR Doc #: 40 Filed: 05/23/25 1 of 4. PageID #: 614




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


      CLEVELAND BROWNS                             )   CASE NO. 1:24-cv-01857
      FOOTBALL COMPANY LLC,                        )
                                                   )
             Plaintiff,                            )
                                                   )   JUDGE DAVID A. RUIZ
                     v.                            )
                                                   )
      CITY OF CLEVELAND, et al.,                   )   MEMORANDUM OPINION AND ORDER
                                                   )
             Defendants.                           )
                                                   )


                                            I. Procedural History

           On October 25, 2024, Plaintiff Cleveland Browns, LLC (“Plaintiff” or “Browns), filed a

      six-count Complaint for declaratory judgment against Defendant City of Cleveland (“Defendant”

      or “Cleveland”). (R. 1). On November 15, 2024, Plaintiff filed a four-count Amended

      Complaint against Defendant Cleveland. (R. 12). On January 15, 2025, Intervenor State of Ohio

      (“Ohio”) filed a motion to dismiss (R. 24), as did Defendant Cleveland. 1 (R. 25). The motions

      became ripe for review as of February 28, 2025, after Cleveland and Ohio both filed replies in

      support of their motions. (R. 28 & 29). Eighteen days later, Plaintiff filed a Motion for leave to



1
  Defendant also argued that the Court should exercise the Pullman abstention doctrine, and
allow the state courts to address the applicability of the so-called “Modell law.” (R. 25-1,
PageID# 159-164). Defendant represents it has filed a state enforcement action in state court. Id.
at PageID# 148.
Case: 1:24-cv-01857-DAR Doc #: 40 Filed: 05/23/25 2 of 4. PageID #: 615




Further Amend the Complaint (R. 30), which both Cleveland and Ohio oppose. (R. 37 & 38). On

April 8, 2025, Plaintiff filed a reply in support of its motion to amend. (R. 39). For the reasons

set forth below, Plaintiff’s Motion for leave to further Amend the Complaint (R. 30) is

GRANTED.

                                  II. Motion to Amend Standard

       Rule 15 provides that a party may amend its pleadings once as a matter of course within

21 days of serving the pleading or, if a responsive pleading is required, 21 days after service of a

responsive pleading. Fed. R. Civ. P. 15(a)(1). “In all other cases, a party may amend its pleading

only with the opposing party’s written consent or the court’s leave. The court should freely give

leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).

        The liberal amendment policy embodied in Rule 15(a)(2), however, “is not without

limits.” DeCrane v. Eckart, No. 1:16CV2647, 2018 WL 916520 at *1 (N.D. Ohio Feb. 16, 2018)

(Boyko, J.). “But a court need not grant a motion to amend when the reason for amendment is

improper, ‘such as undue delay, bad faith or dilatory motive on the part of the movant, repeated

failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing

party by virtue of allowance of the amendment, futility of amendment, etc.’” Skatemore, Inc. v.

Whitmer, 40 F.4th 727, 737-38 (6th Cir. 2022) (citations omitted)), cert. denied, 143 S. Ct. 527,

214 L. Ed. 2d 302 (2022). An amendment is futile where the proposed changes “could not

withstand a Rule 12(b)(6) motion to dismiss.” Riverview Health Inst. LLC v. Med. Mut. of Ohio,

601 F.3d 505, 512 (6th Cir. 2010) (quoting Rose v. Hartford Underwriters Ins. Co., 203 F.3d

417, 420 (6th Cir. 2000)).




                                                 2
Case: 1:24-cv-01857-DAR Doc #: 40 Filed: 05/23/25 3 of 4. PageID #: 616




                                           III. Analysis

     The Court is mindful of the liberal amendment policy of Rule 15(a)(2). It is true that

Plaintiff has already been afforded an opportunity to amend the Complaint. Nevertheless, this

matter is still in its beginning stages, and, therefore, there has been no undue delay. The Court

further notes that Defendant Cleveland has twice asked for and received extensions of time to

respond to the pleadings. (R. 10 & 20). Moreover, the Court perceives no evidence of bad faith

or dilatory motive by Plaintiff. Furthermore, the first Amended Complaint (R. 12), was filed

prior to any responsive pleading by Cleveland or Ohio. Therefore, the Court is not faced with a

scenario where a party has been afforded repeated opportunities to cure deficiencies by

previously allowed amendments.

      The State of Ohio’s primary argument in opposition to allowing Plaintiff leave to amend is

the argument that the proposed amendment would be futile. (R. 38, PageID# 580, 584).

Specifically, Ohio takes the position that the arguments raised in its motion to dismiss still hold

true and are uncured by the proposed second amended complaint. Id. Defendant Cleveland raises

similar futility arguments. (R. 37, PageID# 498-499).

     The proposed second Amended Complaint adds a number of Plaintiffs affiliated with the

Browns, as well as naming Defendant City of Cleveland’s Law Director in his official capacity.

(R. 30-1, PageID# 285-86, ¶¶8-13). The proposed complaint also adds greater depth to the

factual allegations compared to the First Amended Complaint. Finally, the proposed complaint

reduces the number of counts being brought from four to three, though the substance of the

counts are very similar.

     It is true that Cleveland and Ohio have already expended resources in filing motions to

dismiss the Amended Complaint. But the Court cannot find that having to respond to an


                                                 3
Case: 1:24-cv-01857-DAR Doc #: 40 Filed: 05/23/25 4 of 4. PageID #: 617




amended complaint or refile motions to dismiss would unduly prejudice either the Defendant or

the State of Ohio.

                                         IV. Conclusion

     For the foregoing reasons, Plaintiff’s Motion for Leave to Further Amend the Complaint

(R. 30) is GRANTED. Plaintiff must file the proposed Second Amended Complaint as a free-

standing document within seven (7) days of this Order.

     The Motions to Dismiss filed by Intervenor State of Ohio (R. 24) and Defendant Cleveland

(R. 25) are hereby DENIED without prejudice as moot.2 Once Plaintiff files the Second

Amended Complaint, Cleveland and Ohio may move, answer, or otherwise respond within the

time set forth by the Federal Rules of Civil Procedure and the Local Rules.

       IT IS SO ORDERED.

                                              s/ David A. Ruiz
                                              David A. Ruiz
                                              United States District Judge

Date: May 23, 2025




2
 To clarify, the denial of the motions to dismiss is not a ruling on the merits of the arguments
raised therein.


                                                 4
